Case 2:23-cr-20431-DML-DRG ECF No. 78, PageID.343 Filed 05/17/24 Page 1 of 7




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

UNITED STATES OF AMERICA,

                       Plaintiff,                            Case Number 23-20431
v.                                                           Honorable David M. Lawson

SAMER YOUSSEF,

                  Defendant.
________________________________________/

      OPINION AND ORDER GRANTING IN PART GOVERNMENT’S MOTION
              FOR INTERLOCUTORY SALE OF VESSEL SUBJECT
             TO FORFEITURE AND SETTING SALE CONDITIONS

       The indictment in this case charging defendant Samer Youssef with health care fraud and

money laundering also contains forfeiture allegations. One item the government seized as alleged

proceeds derived from the criminal activity is a yacht, which currently is in United States Marshals

Service custody. The government filed a motion (styled as an “application”) for interlocutory sale

of the vessel.   Youssef did not object to the sale in principle, but he disagreed with the

government’s proposed sale procedures, which vests significant discretion in the Marshals Service.

He argued that the vessel should be sold through a broker, a method which, he believed, would

fetch a higher price. The Court held a hearing on the government’s motion on March 28, 2024, at

the conclusion of which the Court allowed Youssef to have access to the vessel, to obtain an

appraisal by an expert of his choosing, and to propose a disposition plan.

       On May 1, 2024, Youssef pleaded guilty to one count of health care fraud (18 U.S.C. §

1349) and one count of money laundering (18 U.S.C. § 1357). During the plea hearing, the Court

inquired about the status of the government’s application for an order of interlocutory sale of

Youssef’s vessel. Youssef’s attorney stated that the defendant no longer intended to seek an

appraisal of the vessel and had no objection to an interlocutory sale, provided that the Court set a
Case 2:23-cr-20431-DML-DRG ECF No. 78, PageID.344 Filed 05/17/24 Page 2 of 7




reserve price.     The government opposed the defendant’s request, and the Court asked for

supplemental briefs, which have been filed.

          Youssef does not contest the Court’s authority to order a sale of the vessel at this stage of

the case, but he argues that the Court should set a reserve price of approximately $373,000, which

represents the value of the vessel as determined by the government’s appraiser. He argues that

this value would ensure that the government’s proposed auction would proceed in a “commercially

feasible” means, conforming with 21 U.S.C. § 853(h)’s command. He also asks — presumably in

the alternative — that the government be required to seek Court approval of a sale at a price below

the appraised value to prevent a “fire sale” of the vessel.

          The government argues that Youssef’s failure to acquiesce to its proposed sales terms

amounts to a breach of his plea agreement, which requires that he cooperate with the government’s

efforts with dispose of forfeitable property. That argument does not reflect an honest construction

of the plea agreement. In that agreement, Youssef agreed to cooperate with the government’s

efforts “to identify, locate, seize, and forfeit” the property that could be subject to forfeiture. ECF

No. 68, PageID.268-69. It does not require him to roll over on any government proposal to

liquidate personal property at any price. And the plea agreement also suggests that the forfeited

property could be used to offset Youssef’s substantial restitution obligation, id. at PageID.270-71,

so it would behoove him and the government alike to maximize the proceeds from the sale of the

vessel.

          The government also balks at Youssef’s suggestion of setting the reserve price at the

appraised value, arguing that it would not foster a competitive auction because a bidder could only

pay market price or more. The government does acknowledge, though, that the standard procedure

of its yacht broker, National Liquidators, is to set a reserve price at 75 percent of a vessel’s “value.”




                                                  -2-
Case 2:23-cr-20431-DML-DRG ECF No. 78, PageID.345 Filed 05/17/24 Page 3 of 7




If a reserve price is not achieved, the vessel would be relisted and eventually would be re-appraised

if it still has not sold.

        The Court’s authority to order the interlocutory sale of property subject to criminal

forfeiture is derived, among other sources, from 21 U.S.C. § 853(e), which permits a court to “enter

a restraining order or injunction, require the execution of a satisfactory performance bond, or take

any other action to preserve the availability” of property subject to forfeiture. 21 U.S.C. §

853(e)(1) (emphasis added). This authority is triggered upon the filing of an indictment charging

a violation for which criminal forfeiture may be ordered, as here, and alleging that the property

with respect to which the order is sought would, in the event the defendant is convicted, be subject

to forfeiture. Id. § 853(e)(1)(A); see also United States v. King, No. 10-122, 2010 WL 4739791,

at *1 (S.D.N.Y. Nov. 12, 2010). “Courts have interpreted the statute’s grant of authority . . . as a

flexible grant including the authority to order the interlocutory sale of property when necessary to

preserve the property’s equity or value.” United States v. Johnston, No. 13-5181, 2013 WL

5775250, at *5 (E.D. Ky. Sept. 26, 2013), report and recommendation adopted sub nom. United

States v. Woodland Dream, No. 13-279, 2013 WL 5775298 (E.D. Ky. Oct. 24, 2013).

        In addition, the Federal Rules of Criminal Procedure’s forfeiture provisions also provide

authority for the court to conduct interlocutory sales. United States v. Guzman, No. 08-00023,

2013 WL 12228400, at *2 (M.D. Tenn. Oct. 7, 2013) (applying both section 853 and the forfeiture

provisions of the Federal Rules); see also King, 2010 WL 4739791, at *1 (same). Rule 32.2(b)(7)

states that a district court, “at any time before entry of a final forfeiture order,” may order an

interlocutory sale of alleged forfeitable property “in accordance with Supplemental Rule G(7) of

the Federal Rules of Civil Procedure.” Fed. R. Crim. P. 32.2(b)(7) (emphasis added). Of particular

relevance here, interlocutory sales are permitted when “the expense of keeping the property is




                                                -3-
Case 2:23-cr-20431-DML-DRG ECF No. 78, PageID.346 Filed 05/17/24 Page 4 of 7




excessive or is disproportionate to its fair market value.” Fed. R. Civ. P. Supp. G(7)(b)(1)(B). The

government has stated, and the defendant does not dispute, that the vessel is in drydock storage

incurring monthly storage expenses; and modest repairs ($3,650 to address dock rash on the hull,

an acid wash to remove hard water stains, and routine service on all three motors) likely would be

required to make the vessel seaworthy and more attractive to a buyer.

        The Court has “considerable discretion” to order a sale of property subject to forfeiture and

to prescribe its terms. United States v. Approximately 81,454 Cans of Baby Formula, 560 F.3d

638, 641 (7th Cir. 2009). Such sales generally are “governed by 28 U.S.C. §§ 2001, 2002, and

2004, unless all parties, with the court’s approval, agree to the sale, aspects of the sale, or different

procedures.” Fed. R. Civ. P. Supp. G(7)(b)(iii). Section 2004 requires that any personal property

sold by order of a court be conducted in accordance with the provisions of section 2001, “unless

the court orders otherwise.” 28 U.S.C. § 2004; Glander Int’l Bunkering Inc. v. M/V TERESA, 586

F. Supp. 3d 189, 198 (E.D.N.Y. 2022). Section 2001, in general, requires a public sale “upon such

terms and conditions as the court directs.” 28 U.S.C. § 2001(a). However, the court may order a

private sale, after a hearing, “if it finds that the best interests of the estate will be conserved

thereby.” Id. § 2001(b).

        Courts ordering interlocutory sales frequently include a reserve (or minimum) price as part

of the sale conditions. See, e.g., United States v. $510,910.00 in United States Currency, No. 18-

1683, 2020 WL 3840502, at *2 (S.D. Ill. July 8, 2020). The question then becomes what reserve

price is appropriate. Youssef prefers that the reserve price be set at approximately $373,000, which

is close to the appraised value of the vessel. The government objects, noting that absent Court

intervention, the yacht broker’s default practice is to set a reserve price at 75 percent of a vessel’s

“value.” That “value,” however, is subject to some dispute. Youssef took the position initially




                                                  -4-
Case 2:23-cr-20431-DML-DRG ECF No. 78, PageID.347 Filed 05/17/24 Page 5 of 7




that the yacht was worth $550,000. But he has not backed up that assertion with an appraisal of

his own, despite being given the opportunity to do so.

        A reserve price of 75% of the only actual appraisal available is a reasonable approach to

the sale, tempered, however, by the requirement that the government must seek and obtain Court

approval before finalizing any sale, before which the defendant would be allowed to object to the

sale price.

        Several factors suggest that setting the reserve at 75 percent of the vessel’s appraised value

would be appropriate. First, that figure comports with the practice of the government’s yacht

broker, which presumably has experience with and an interest in maximizing sales proceeds.

Second, this figure likely will permit the sale to reach a conclusion expeditiously. Although it is

possible that this could result in a sale that undershoots the vessel’s fair market value somewhat,

there are costs to further delaying the sale that could diminish the net yield. The vessel continues

to accumulate storage fees, which reduce the amount that ultimately will be recovered. The vessel

also may depreciate in value over time; the government’s appraisal was made in August 2023.

Third, this reserve price is consistent with the practice of other courts that have ordered

interlocutory sales. See, e.g., United States v. $510,910.00 in United States Currency, 2020 WL

3840502, at *2 (setting reserve price of recreational vehicle at “75 percent of the retail value”);

United States v. One 2005 Lagoon 440 Sailing Catamaran Named Bohemian Rhapsody, No. 13-

9262, 2017 WL 10573808, at *4 (C.D. Cal. Sept. 22, 2017) (setting lowest acceptable bid on a

vessel at 66 percent of the National Automobile Dealers Association (“NADA”) list price at the

time of sale); United States v. One 2014 Rolls Royce Phantom Auto., 461 F. Supp. 3d 1, 2-3

(D.D.C. 2018) (setting reserve price at government’s estimate of fair market value where claimant

contended the value was approximately $10,000 to $20,000 higher).




                                                -5-
Case 2:23-cr-20431-DML-DRG ECF No. 78, PageID.348 Filed 05/17/24 Page 6 of 7




        The government’s appraiser and selling agent, National Liquidators, estimated the vessel’s

NADA value at $373,950 and “NL Consensus Value” as $370,000. ECF No. 55, PageID.190.

Presumably, the latter is National Liquidator’s own estimate of the vessel’s worth, although the

government does not specify why it differs from the NADA value. (National Liquidators did find

that the vessel required approximately $3,650 in maintenance, but this figure does not explain

completely the discrepancy.) In any event, taking 75 percent of the NADA appraisal yields

$280,462.50 — a figure substantially below either appraisal, but likely sufficient to promote a

robust auction. That reserve price is reasonable under all circumstances at present.

        Accordingly, it is ORDERED that the government’s motion for an interlocutory sale of

seized property, to-wit: a 2022 40-foot Schaefer 400 Sport vessel, bearing hull number

SHF40119H122 and Florida Title No. 146978808 (the “Vessel”), (ECF No. 55) is GRANTED IN

PART.

        It is further ORDERED that the government may proceed with its efforts to sell the Vessel

on the following terms:

        a) The Vessel will be sold in the most commercially feasible manner as determined
        by the government’s appraiser and selling agent, National Liquidators, under the
        supervision of the United States Marshal Service (USMS) for the Middle District
        of Florida under the terms of this Order;

        b) The USMS and its delegate, National Liquidators, may reject any offers to
        purchase the Vessel for any reason, where it determines that the offer is being made
        by, on behalf of, or in conjunction with a person or entity involved in the criminal
        activity alleged in these criminal proceedings as the basis for forfeiture;

        c) The selling agent may not entertain any offer that is less than $280,462.50;

        d) Before any sale is finalized, the government must seek and obtain permission
        from the Court by filing an appropriate motion. The defendant may oppose the
        motion by filing an appropriate response within 14 days after the motion is filed.
        Final sale will be subject to Court approval;




                                               -6-
Case 2:23-cr-20431-DML-DRG ECF No. 78, PageID.349 Filed 05/17/24 Page 7 of 7




      e) After the sale of the Vessel is finalized, the net sale proceeds shall be remitted
      to the custody and control of the USMS or its delegate and shall be deposited into
      the Department of Justice Seized Asset Deposit Fund, an interest bearing account;

      f) The net proceeds from the sale of the Vessel will include all money realized from
      the sale of the property, less all reasonable costs incurred by the USMS or its
      delegate in connection with the storage, maintenance, repair, marketing, and sale
      of the Vessel;

      g) The net proceeds realized from the sale of the Vessel shall constitute “substitute
      res” for the Vessel in this case and subject to any preliminary and final order of
      forfeiture entered in the case; and

      h) An accounting of the proceeds attributable to the Vessel shall be maintained by
      the USMS or its delegate and furnished to the Court.

                                                            s/David M. Lawson
                                                            DAVID M. LAWSON
                                                            United States District Judge

Dated: May 17, 2024




                                              -7-
